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Case 1:21-cr-00246
A Mother's Pler
August 10, 2023

Dear United States and it’s officials,

This is Edwards’s Mom writing. His one and only parent who knows Edward
the most inside and out. What he’s truly made of. This guy is a spring water
who begins in the mountains clear and untouched. Creating his natural

path.

Through the course of life and society - where lay many obstacles through
roads unknown. Roads have taken him into this vicious corner where he’s
pushed into a trap. By the hands of unkind men. Edward has no connection
with these beings. Since he is incapable of such wrongful actions for which

he’s blamed for.

He grew up with his cat Mason who was his best friend. He was reading
books and getting the highest grades in every class with lots of honors.
After Mason’s disappearance he adopted kittens Mimi and Moe.

We emigrated from the old country Armenia in 1988 to Los Angeles. Our
grandparents are a few of the survivors of the Armenian Genocide in 1915

by the Ottomon Empire. Great Grandma is Bagratuni from Bagratid noble

dynasty (c. 885-1045) who was an honorable woman with magickal
culinary skills. This is why Edward is a wonderful home chef.Great Grandpa

was a superior air plane mechanic for private jets in Paragar airport in
Armenia. Grandpa was an electrical engineer.

Edward took on both traits and with his own knowledge and talent and
became a very unique engineer. Edward was studying engineering in
Pierce College then in Devry University. He also reinvented Tesla - free
electricity for humanity. Even though he did not have the chance to finish
college due to our financial difficulties. He started doing major engineering
work on his own. For many years he was building model cars and this year

he started gathering old bicycles and building them into full motorcycles

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with real engines. This far he built three unusual motor bikes (photos
attached).

Your honor, give Edward a chance to continue his education. Maybe &
government funding since during rally in D.C. he risked his life to protect
governments most important building The Capitol from violent invaders who

were breaking Capitols windows. | am sure your honor has seen those
videos.

Dear your honor your decision is going to decide this young mans future.
We are part of the smallest minority group, our families and loved ones are
asking you to grant him a pardon.

He’s my one and only son who’s worried about my health condition which
worsened after the feds raided us. Destroying us as humans and our home.
Mimi and Moe vanished for days even as animals they were frightened.

Please don’t take my son away. | love him and he takes good care of me.
And cooks our meals daily.

Ay sea Demi (yah
Respectfully yours, (Joe
reaching \Dikneyan
| Lucy D. Mille De Chashn Ly i:
| LUGY 2. Ld

Natalie Galustyan
te Phd.

